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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WINFRED PEARSON III                                  :
602A Yeadon Ave.                                     :
Yeadon, PA 19050                                     :
                                                     :        CIVIL ACTION
                 Plaintiff,                          :
        v.                                           :        No.:
                                                     :
DREXEL UNIVERSITY                                    :
3201 Arch Street, Suite 430                          :        JURY TRIAL DEMANDED
Philadelphia, PA 19104                               :
                                                     :
                 Defendant.                          :
                                                     :

                                      CIVIL ACTION COMPLAINT

        Plaintiff, Winfred Pearson, III (hereinafter referred to as “Plaintiff”), by and through his

undersigned counsel, hereby avers as follows:

                                              INTRODUCTION

        1.       Plaintiff has initiated this action to redress violations by Drexel University

(hereinafter referred to as “Defendant”) of the Americans with Disabilities Act, as amended

(“ADA” - 42 U.S.C. §§ 12101 et. seq.), the Family and Medical Leave Act (“FMLA” – 29 U.S.C.

§ 2601 et. seq.), the Pennsylvania Human Relations Act (“PHRA”), and the Philadelphia Fair

Practices Ordinance (“PFPO”).1            Plaintiff was unlawfully terminated by Defendant, and he

suffered damages more fully described/sought herein.

                                      JURISDICTION AND VENUE

        2.       This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks



1
 Plaintiff intends to amend his instant lawsuit to include claims under the PHRA and the PFPO once his administrative
remedies are fully exhausted with the Pennsylvania Human Relations Commission (“PHRC”).
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redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff’s state-

law claims because they arise out of the same common nucleus of operative facts as Plaintiff's

federal claims asserted herein.

        3.       This Court may properly maintain personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.       Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this district

because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering

Defendant a resident of the Eastern District of Pennsylvania.

        5.       Plaintiff filed a Charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”) and also dual-filed said charge with the

Pennsylvania Human Relations Commission (“PHRC”). Plaintiff has properly exhausted his

administrative proceedings before initiating this action by timely filing and dual-filing his Charge

with the EEOC and PHRC, and by filing the instant lawsuit within 90 days of receiving a right-to-

sue letter from the EEOC.

                                               PARTIES

        6.       The foregoing paragraphs are incorporated herein their entirety as if set forth in full.

        7.       Plaintiff is an adult who resides at the above-captioned address.

        8.       Drexel University is a global research university, located at the above-captioned

address.




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        9.       At all times relevant herein, Defendant acted by and through its agents, servants

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for Defendant.

                                       FACTUAL BACKGROUND

        10.      The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.      Plaintiff was employed with Defendant for approximately 16 years (including

predecessor third-party companies).2

        12.      At the time of Plaintiff’s termination, he was employed as a Custodian in

Defendant’s housekeeping department.

        13.      While directly employed with Defendant, from in or about 2015, Plaintiff fell under

the supervision of several different supervisors, including but not limited to: Darryl (last name

unknown, hereinafter “Darryl”), Cotton (last name unknown, hereinafter “Cotton”), Christopher

Urquhart (hereinafter “Urquhart”), Selamawit Tedla (hereinafter “Tedla”), Fred Ferguson

(hereinafter “Ferguson”), and Raye Wilson (hereinafter “Wilson”).

        14.      Throughout Plaintiff’s long employment with Defendant, he was a hard-working

employee who performed his job well.

        15.      Plaintiff has and continues to suffer from ADA-qualifying disabilities, including

but not limited to hypertension, cancer, heart conditions, and injuries suffered from an automobile

accident (and associated complications/conditions).




2
 Plaintiff was employed by a predecessor third-party company contracted to Defendant from in or about 2007 until
on or about 2015, when Defendant opted to employee in-house cleaners. Defendant hired Plaintiff directly in or about
August of 2015.

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       16.     As a result of Plaintiff’s aforesaid health conditions, he suffered from breathing

pain, breathing issues, mobility concerns, and fluid in his chest.

       17.     Despite his aforesaid health conditions and limitations, Plaintiff was still able to

perform the essential functions of his job well; however, Plaintiff (at times) required some

reasonable medical accommodations (i.e., time off for doctor’s visits and/or hospital stays).

       18.     Defendant’s management exhibited extreme frustration with Plaintiff’s health

conditions and need for time off for the same.

       19.     In fact, Plaintiff was issued retaliatory discipline, suspended, and terminated on

multiple separate occasions in close proximity to hospital visits/stays for his aforesaid health

conditions.

       20.     For example, in or about 2021, Plaintiff informed Urquhart that he was suffering

from skin cancer and needed to leave early for an important doctor’s appointment; however,

Urquhart hostilely informed Plaintiff that there would be consequences.

       21.     Plaintiff was then verbally disciplined for alleged job abandonment and/or poor

performance, which he grieved through his union.

       22.     Thereafter on or about March 7, 2023, Plaintiff was involved in an automobile

accident outside of work, wherein he suffered from back pain, head pain, and abdominal pain.

       23.     Following his accident, Plaintiff went to the emergency room and was given a chest

x-ray, chest CT, and abdominal CT.

       24.     Plaintiff was released from the hospital but advised to follow-up with his primary

physician due to fluid in his abdomen, which could be related to liver or kidney disease.




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        25.    Plaintiff remained out of work for several days (a reasonable accommodation under

the ADA), but when he returned, he was assigned more laborious work, including cleaning up in

a sorority house, which had no cleaning coverage for over 5 days prior.

        26.    As a result of the aforementioned sorority house having no cleaning coverage for

over 5 days, it was overloaded with trash and needed intensive cleaning that Plaintiff was not able

to accomplish as a result of still being a bit weak from his aforesaid health conditions, and that the

amount of cleaning without assistance was impossible to complete in the time Defendant required.

        27.    Consequently, Defendant’s management suspended Plaintiff pending termination

on or about March 20, 2023, for alleged “poor performance.”

        28.    However, through union intervention, Plaintiff was brought back to work

approximately one week later, as it was determined that management, in particular Wilson, was

untruthful about assigning another employee to assist Plaintiff with clean-up in the sorority house.

        29.    Thereafter, Plaintiff continued to perform his job duties well, for the next few

months, until he again suffered a flare-up of his aforesaid health conditions on or about June 9,

2023.

        30.    Specifically, Plaintiff was not feeling well, having a difficult time breathing, and

requested the ability to Ferguson to leave and seek treatment.

        31.    Ferguson, however, gave Plaintiff a hard time about leaving to care for his aforesaid

health conditions, hostilely informing Plaintiff that he was not a team player.

        32.    Plaintiff was then hospitalized for acute heart failure and constrictive pericarditis.

        33.    Plaintiff remained in the hospital for approximately 9 days, or until on or about

June 18, 2023, during which time Plaintiff’s heart was “shocked” back into rhythm.




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       34.        When Plaintiff was released from the hospital, Plaintiff was advised to consult with

a cardiologist.

       35.        Plaintiff returned to work shortly thereafter and continued to perform his job duties

well and as directed until his abrupt termination on or about July 6, 2023, for alleged “poor work

performance” a few days prior on or about June 29, 2023.

       36.        Defendant’s reason for Plaintiff’s termination, however, is completely false and

pretextual because (1) the room Plaintiff had purportedly not finished cleaning on or about June

29, 2023, which led to his termination, Plaintiff had never cleaned before, and he had not been

provided with the right cleaning equipment; and, Plaintiff had been pulled from the room by

management before it was completed to finish cleaning up after another worker in another area

who was leaving early that day; (2) Plaintiff had been disciplined by management in close

proximity to each time that he took leave from work for his serious health conditions during the

last several months of his employment, in clear retaliation for the same; and (3) Plaintiff was

terminated in very close proximity to his most recent hospitalization for acute heart failure

symptoms/conditions.

       37.        Notably, Plaintiff inquired about the process of/requested the ability to file for

FMLA leave on multiple occasions throughout the last several months of his employment with

Defendant but was never provided with the proper forms to complete, both after his accident in or

about March of 2023 and his hospitalization in or about June of 2023.

       38.        Specifically, in or about June of 2023, Plaintiff spoke to a Human Resources

(“HR”) representative who said he would send the necessary FMLA documents to Plaintiff, but

Plaintiff never received them. Instead, he was terminated on or about July 6, 2023.




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        39.     Such actions constitute interference with Plaintiff’s rights under the FMLA, as well

as retaliation for requesting and/or utilizing FMLA-qualifying leave.

        40.     Plaintiff failed to properly accommodate Plaintiff’s health conditions by issuing

him pretextual discipline following each request for/utilization of medical leave during the last

several months of his employment with Defendant and using the same as a means to terminate

him.

        41.     Plaintiff believes and therefore avers that he was subjected to a hostile work

environment, pretextual discipline, and retaliation because of: (1) his known and/or perceived

health problems; (2) his record of impairment; (3) his requested accommodations; and (4)

Defendant’s failure to properly accommodate him (discussed supra).

        42.     Plaintiff also believes and therefore avers that his actual/perceived/record of health

conditions was a motivating and/or determinative factor in the termination of his employment with

Defendant.

                                          COUNT I
          Violations of the Americans with Disabilities Act, as Amended (“ADA”)
    (1] Actual/Perceived/Record of Disability Discrimination; [2] Failure to Accommodate;
                        [3] Retaliation; and [4] Wrongful Termination)

        43.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        44.     Plaintiff suffered from qualifying health conditions under the ADA which affected

his ability (at times) to perform some daily life activities.

        45.     Despite Plaintiff’s aforementioned health conditions and limitations, he was still

able to perform the duties of his job well with Defendant, however, Plaintiff did require reasonable

medical accommodations at times.

        46.     Plaintiff kept Defendant informed of his serious medical conditions and need for


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medical treatment and other accommodations.

        47.     Plaintiff requested reasonable accommodations from Defendant, including but not

limited to intermittent time off from work for doctor’s appointments, diagnostic testing, treatment,

hospitalization, and to care for and treat his disabilities.

        48.     Plaintiff was terminated, on or about July 6, 2023, in close temporal proximity to

requesting/utilizing accommodations for his own health conditions.

        49.     Plaintiff failed to properly accommodate Plaintiff’s health conditions by issuing

him pretextual discipline following each request for/utilization of medical leave during the last

several months of his employment with Defendant and used the same as a means to terminate him.

        50.     Plaintiff believes and therefore avers that he was subjected to a hostile work

environment, pretextual discipline, and retaliation because of: (1) his known and/or perceived

health problems; (2) his record of impairment; (3) his requested accommodations; and (4)

Defendant’s failure to properly accommodate him (discussed supra).

        51.     Plaintiff also believes and therefore avers that his actual/perceived/record of health

conditions was a motivating and/or determinative factor in the termination of his employment with

Defendant.

        52.     Defendant’s actions as aforesaid constitute violations of the ADA.

                                           COUNT II
                  Violations of the Family and Medical Leave Act (“FMLA”)
                                  (Retaliation & Interference)

        53.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        54.     Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).



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       55.      Plaintiff requested leave for medical reasons from Defendant, his employer, with

whom he had been employed for at least twelve months pursuant to the requirements of 29 U.S.C.A

§ 2611(2)(i).

       56.      Plaintiff had at least 1,250 hours of service with Defendant during his last full year

of employment.

       57.      Defendant is engaged in an industry affecting commerce and employed at least fifty

(50) or more employees within 75 miles of the location where Plaintiff worked for Defendant for

each working day during each of the twenty (20) or more calendar work weeks in the current or

proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).

       58.      Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a

total of twelve (12) work weeks of leave on a block or intermittent basis.

       59.      Plaintiff requested FMLA-qualifying leave to care for and treat his aforesaid health

conditions on multiple occasions prior to his termination.

       60.      Defendant committed interference and retaliation violations of the FMLA by: (1)

terminating Plaintiff for requesting and/or exercising his FMLA rights and/or for taking FMLA-

qualifying leave; (2) considering Plaintiff’s FMLA leave needs in making the decision to terminate

him; (3) failing to provide Plaintiff with FMLA documentation for his doctor to complete, despite

his repeated requests otherwise; (4) terminating Plaintiff to intimidate him and/or prevent him from

taking FMLA-qualifying leave in the future; (5) making negative comments and/or taking actions

towards him that would dissuade a reasonable person from exercising his rights under the FMLA;

and (6) failing to designate Plaintiff’s requests for intermittent and/or block time off for his health

conditions during the last year of his employment with Defendant as FMLA-qualifying or FMLA

protected leave.



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       61.     These actions as aforesaid constitute violations of the FMLA.

       WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

       A.      Defendant is to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement, and seniority.

       C.      Plaintiff is to be awarded punitive damages, as permitted by applicable law, in an

amount believed by the Court or trier of fact to be appropriate to punish Defendant for its willful,

deliberate, malicious and outrageous conduct and to deter Defendant or other employers from

engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper, and appropriate (including but not limited to damages for emotional distress/pain and

suffering);

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorneys’ fees as provided by applicable federal and state law; and

       F.      Plaintiff is to be given a jury trial as demanded in the caption of this Complaint.




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                                          Respectfully submitted,

                                          KARPF, KARPF & CERUTTI, P.C.


                                   By:    _______________________
                                          Ari R. Karpf, Esq.
                                          3331 Street Road
                                          Two Greenwood Square, Suite 128
                                          Bensalem, PA 19020
                                          (215) 639-0801
                                          Attorneys for Plaintiff

Dated: May 29, 2024




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RLOVLOMOQ
                            Case 2:24-cv-02277-CMR
                                                UNITEDDocument  1 Filed
                                                      STATES DISTRICT    05/29/24 Page 13 of 14
                                                                      COURT
                                                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                           DESIGNATION FORM
                     (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                       SMO^=vÉ~Ççå=^îÉåìÉI=vÉ~ÇçåI=m^=NVMRM
Address of Plaintiff: ______________________________________________________________________________________________
                       POMN=^êÅÜ=píêÉÉíI=pìáíÉ=QPMI=mÜáä~ÇÉäéÜá~I=m^=NVNMQ
Address of Defendant: ____________________________________________________________________________________________
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Place of Accident, Incident or Transaction: ___________________________________________________________________________



RELATED CASE, IF ANY:

Case Number: ______________________________                      Judge: _________________________________                    Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                    No X
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                    No X
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier                           Yes                    No X
       numbered case pending or within one year previously terminated action of this court?

4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                    No X
       case filed by the same individual?

I certify that, to my knowledge, the within case              is / X is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
          RLOVLOMOQ
DATE: __________________________________                      __________________________________________                               ARK2484 / 91538
                                                                                                                               ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)


CIVIL:

A.            Federal Question Cases:                                                       B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                        1.    Insurance Contract and Other Contracts
       2.     FELA                                                                                2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                           3.    Assault, Defamation
       4.     Antitrust                                                                           4.    Marine Personal Injury
       5.     Patent                                                                              5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                          6.    Other Personal Injury (Please specify): _____________________
u      7.     Civil Rights                                                                        7.    Products Liability
       8.     Habeas Corpus                                                                       8.    Products Liability –Asbestos
       9.     Securities Act(s) Cases                                                             9.    All other Diversity Cases
       10.    Social Security Review Cases                                                              (Please specify): ____________________________________________
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                           ARBITRATION CERTIFICATION
                                                   (

     Ari R. Karpf
I, ____________________________________________ , counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c ) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
     X
              exceed the sum of $150,000.00 exclusive of interest and costs:

              Relief other than monetary damages is sought.


          RLOVLOMOQ
DATE: __________________________________                      _____________________________________ _____                            ARK2484 / 91538
                                                                                                                              ___________________________________
                                                                          Attorney-at-Law / Pro Se Plaintiff                              Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 ( /2018)
                                   Case 2:24-cv-02277-CMR Document 1 Filed 05/29/24 Page 14 of 14
JS 44 (Rev. 06/17)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            aobubi=rkfsbopfqv
    mb^oplk=fffI=tfkcoba
     (b) County of Residence of First Listed Plaintiff                 aÉä~ï~êÉ                               County of Residence of First Listed Defendant                 mÜáä~ÇÉäéÜá~
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                    Attorneys (If Known)
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II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                        III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintif f
                                                                                                         (For Diversity Cases Only)                                             and One Box for Defendant)
❒ 1    U.S. Government               u’ 3 Federal Question                                                                         PTF           DEF                                            PTF      DEF
          Plaintiff                               (U.S. Government Not a Party)                     Citizen of This State          ’ 1           ’ 1     Incorporated or Principal Place         ’ 4     ’ 4
                                                                                                                                                             of Business In This State

❒ 2    U.S. Government                   ’ 4 Diversity                                              Citizen of Another State          ’ 2         ’ 2    Incorporated and Principal Place      ’ 5      ’ 5
          Defendant                             (Indicate Citizenship of Parties in Item III)                                                                of Business In Another State

                                                                                                    Citizen or Subject of a           ’ 3         ’ 3    Foreign Nation                        ’ 6      ’ 6
                                                                                                      Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                                  Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                               TORTS                               FORFEITURE/PENALTY                            BANKRUPTCY                      OTHER STATUTES
❒   110 Insurance                         PERSONAL INJURY                PERSONAL INJURY            ❒ 625 Drug Related Seizure              ’   422 Appeal 28 USC 158          ❒ 375 False Claims Act
❒   120 Marine                       ’    310 Airplane                 ❒ 365 Personal Injury -            of Property 21 USC 881            ’   423 Withdrawal                 ’ 376 Qui Tam (31 USC
❒   130 Miller Act                   ’    315 Airplane Product               Product Liability      ❒ 690 Other                                     28 USC 157                        3729(a))
❒   140 Negotiable Instrument                  Liability               ❒ 367 Health Care/                                                                                     ❒ 400 State Reapportionment
❒   150 Recovery of Overpayment      ’    320 Assault, Libel &               Pharmaceutical                                                     PROPERTY RIGHTS               ❒ 410 Antitrust
        & Enforcement of Judgment              Slander                       Personal Injury                                                ❒ 820 Copyrights                  ❒ 430 Banks and Banking
❒   151 Medicare Act                 ’    330 Federal Employers’             Product Liability                                              ❒ 830 Patent                      ❒ 450 Commerce
❒   152 Recovery of Defaulted                  Liability               ❒ 368 Asbestos Personal                                              ❒ 835 Patent - Abbreviated        ❒ 460 Deportation
        Student Loans                ’    340 Marine                         Injury Product                                                        New Drug Application       ❒ 470 Racketeer Influenced and
        (Excludes Veterans)          ’    345 Marine Product                 Liability                                                      ❒ 840 Trademark                          Corrupt Organizations
❒   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                        LABOR                         SOCIAL SECURITY                ❒ 480 Consumer Credit
        of Veteran’s Benefits        ’    350 Motor Vehicle            ❒ 370 Other Fraud            ❒ 710 Fair Labor Standards              ’ 861 HIA (1395ff)                ❒ 490 Cable/Sat TV
❒   160 Stockholders’ Suits          ’    355 Motor Vehicle            ❒ 371 Truth in Lending               Act                             ❒ 862 Black Lung (923)            ❒ 850 Securities/Commodities/
❒   190 Other Contract                        Product Liability        ❒ 380 Other Personal         ❒ 720 Labor/Management                  ’ 863 DIWC/DIWW (405(g))                  Exchange
❒   195 Contract Product Liability   ’    360 Other Personal                 Property Damage                Relations                       ❒ 864 SSID Title XVI              ❒ 890 Other Statutory Actions
❒   196 Franchise                             Injury                   ❒ 385 Property Damage        ❒ 740 Railway Labor Act                 ’ 865 RSI (405(g))                ❒ 891 Agricultural Acts
                                     ’    362 Personal Injury -              Product Liability       ’ 751 Family and Medical                                                 ❒ 893 Environmental Matters
                                              Medical Malpractice                                           Leave Act                                                         ❒ 895 Freedom of Information
        REAL PROPERTY                       CIVIL RIGHTS                PRISONER PETITIONS          ❒ 790 Other Labor Litigation              FEDERAL TAX SUITS                       Act
❒   210 Land Condemnation            ❒    440 Other Civil Rights         Habeas Corpus:             ❒ 791 Employee Retirement               ❒ 870 Taxes (U.S. Plaintiff       ❒ 896 Arbitration
❒   220 Foreclosure                  ❒    441 Voting                   ❒ 463 Alien Detainee                Income Security Act                     or Defendant)              ❒ 899 Administrative Procedure
❒   230 Rent Lease & Ejectment       ❒    442 Employment               ❒ 510 Motions to Vacate                                              ❒ 871 IRS—Third Party                    Act/Review or Appeal of
❒   240 Torts to Land                ❒    443 Housing/                       Sentence                                                              26 USC 7609                       Agency Decision
❒   245 Tort Product Liability                Accommodations           ❒ 530 General                                                                                          ❒ 950 Constitutionality of
❒   290 All Other Real Property      ❒
                                     u    445 Amer. w/Disabilities -   ❒ 535 Death Penalty                IMMIGRATION                                                                State Statutes
                                              Employment                 Other:                     ❒ 462 Naturalization Application
                                     ❒    446 Amer. w/Disabilities -   ❒ 540 Mandamus & Other       ❒ 465 Other Immigration
                                              Other                    ❒ 550 Civil Rights                 Actions
                                     ❒    448 Education                ❒ 555 Prison Condition
                                                                       ❒ 560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement

V. ORIGIN (Place an “X” in One Box Only)
u
’ 1 Original    ❒ 2 Removed from                            ❒    3     Remanded from            ❒ 4 Reinstated or       ’     5 Transferred from    ❒ 6 Multidistrict                   ❒ 8 Multidistrict
        Proceeding                State Court                          Appellate Court              Reopened                    Another District           Litigation -                     Litigation -
                                                                                                                            (specify)                      Transfer                         Direct File
                                            Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                      ^a^=EQOrp`NONMNFX=cji^=EOVrp`OSMNF
VI. CAUSE OF ACTION Brief description of cause:
                       sáçä~íáçåë=çÑ=íÜÉ=^a^I=cji^I=meo^=~åÇ=íÜÉ=mcmlK
VII. REQUESTED IN     ❒ CHECK IF THIS IS A CLASS ACTION    DEMAND $                                                                                     CHECK YES only if demanded in complaint:
     COMPLAINT:           UNDER RULE 23, F.R.Cv.P.                                                                                                      JURY DEMAND:        u’ Yes      ’ No
VIII. RELATED CASE(S)
                        (See instructions):
      IF ANY                                JUDGE                                                                                               DOCKET NUMBER
DATE                                                                      SIGNATURE OF ATTORNEY OF RECORD
           RLOVLOMOQ
FOR OFFICE USE ONLY

     RECEIPT #                    AMOUNT                                      APPLYING IFP                                    JUDGE                               MAG. JUDGE

                  Print                                 Save As...                                                                                                                   Reset
